      Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 1 of 36




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15
                             IN THE UNITED STATES DISTRICT COURT
16
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
     SHANNON SOBASZKIEWICZ and KEVIN                   Case No. 4:18-cv-07553-PJH (DMR)
18   STERLING, individually and on behalf of all
     other similarly situated, and as a proxy of the   FEDEX GROUND PACKAGE SYSTEM,
19   State of California on behalf of aggrieved        INC.’S NOTICE OF MOTION AND
     employees, and HERMAN OVERPECK,                   MOTION FOR SUMMARY
20   individually only,                                JUDGMENT; MEMORANDUM OF
                                                       POINTS AND AUTHORITIES
21                  Plaintiffs,
22          vs.                                        [Declaration of Jessica Scott, Declaration
                                                       of Timmy Dean Means, Request for Judicial
23   FEDEX CORPORATION; FEDEX GROUND                   Notice, and Proposed Order]
     PACKAGE SYSTEM, INC.,
24                                                     Date:       May 12, 2022
                    Defendants.                        Time:       1:30 p.m.
25                                                     Dept:       Courtroom 3 – 3rd Floor
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                                                          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 2 of 36




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                                                         Case No. 4:18-cv-07553-PJH (DMR)
      FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                   JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
      Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 3 of 36




 1                                                     TABLE OF CONTENTS

 2   TABLE OF AUTHORITIES .................................................................................................. iii
 3   NOTICE OF MOTION, MOTION, AND STATEMENT OF ISSUES..................................... 1
 4   MEMORANDUM OF POINTS AND AUTHORITIES ........................................................... 1
 5   STATEMENT OF UNDISPUTED, MATERIAL FACTS ....................................................... 3
 6             A.
              FedEx Ground Contracts with Thousands of Small Businesses to Provide
              Delivery Services Throughout the United States ............................................... 3
 7
         B.   Plaintiffs Worked as Drivers for Various Service Providers, Primarily or
 8            Exclusively, in Heavy Vehicles ........................................................................ 4
         C.   FedEx Ground Excludes Service Providers and Their Employees from
 9            Eligibility in Its Employee Benefits Plans ......................................................... 5
10   SUMMARY JUDGMENT STANDARD ................................................................................ 6

11   ARGUMENT .......................................................................................................................... 7

12   I.        PLAINTIFFS’ COMMON-LAW CLAIMS FOR WAGES AND BENEFITS
               FAIL ............................................................................................................................ 7
13
               A.   Plaintiffs Cannot Prove All Elements of a Fraudulent Misrepresentation
14                  Claim As a Matter of Law ................................................................................ 8
                    1.      Plaintiffs Cannot Prove Damages When They Have No Right to
15                          Benefits Under the Plain Language of the Benefit Plans ........................ 8
16                  2.      Plaintiffs Cannot Prove an Actionable Misrepresentation Because
                            Their Claim Is Based on a Legal Position Taken by FedEx
17                          Ground................................................................................................ 10
                    3.      The Record Lacks Any Evidence Showing Plaintiffs Can Prove
18                          Justifiable Reliance ............................................................................. 11
19             B.   Plaintiffs Cannot Prove a Property Interest in Employee Benefits to
                    Support a Viable Conversion Claim ................................................................ 12
20             C.   The California Labor Code Preempts Plaintiffs’ Wage Claims for Fraud
                    and Conversion............................................................................................... 14
21
     II.       CALIFORNIA’S MOTOR CARRIER EXEMPTION BARS PLAINTIFFS’
22             OVERTIME CLAIM ................................................................................................. 15

23   III.      PLAINTIFFS’ MEAL-AND-REST-BREAK CLAIMS ARE PREEMPTED .............. 17

24   IV.       PLAINTIFFS’ WAGE STATEMENT CLAIM FAILS .............................................. 19

25             A.   The Undisputed Evidence Shows that Plaintiffs Cannot Prove Their
                    Claim for a Violation of Section 226 .............................................................. 19
26             B.   Plaintiff Overpeck’s Wage Statement Claim Also Fails for Most of His
                    Time Driving Because He Was Based in New Jersey...................................... 22
27
     V.        PLAINTIFFS CANNOT PROVE THAT FEDEX GROUND HAD TO KEEP
28             PAYROLL RECORDS YET WILLFULLY FAILED TO DO SO ............................. 22
                                                  i          Case No. 4:18-cv-07553-PJH (DMR)
          FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                       JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
      Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 4 of 36




 1   VI.       FEDEX GROUND HAS A GOOD-FAITH BELIEF THAT IT IS NOT
               PLAINTIFFS’ EMPLOYER, PRECLUDING PLAINTIFFS’ WAITING TIME,
 2             WAGE STATEMENTS, AND PAYROLL RECORD CLAIMS ................................ 23

 3   VII.      PLAINTIFFS’ REMAINING CLAIMS FAIL WHERE DERIVATIVE ..................... 24

 4   VIII.     OVERPECK’S REPRESENTATIVE PAGA CLAIM MUST BE DISMISSED
               AND THE REMAINING PAGA CLAIM TIME LIMITED ....................................... 25
 5
     CONCLUSION ..................................................................................................................... 25
 6

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                                               ii         Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
      Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 5 of 36




 1                                                TABLE OF AUTHORITIES

 2   Cases

 3   Abatie v. Alta Health & Life Ins. Co.,
       458 F.3d 955 (9th Cir. 2006) ................................................................................................ 9
 4
     Aetna Health Inc. v. Davila,
 5     542 U.S. 200 (2004) ............................................................................................................. 7
 6   Aguilar v. CTB McGraw-Hill, LLC,
       No. C 06-02160 JW, 2006 WL 8446861
 7     (N.D. Cal. Dec. 5, 2006) ............................................................................................. 7, 9, 10
 8   Akkerman v. Mecta Corp.,
       152 Cal. App. 4th 1094 (2007) ............................................................................................. 8
 9
     Aleksick v. 7-Eleven, Inc.,
10     205 Cal. App. 4th 1176 (2012) ........................................................................................... 25
11   Anderson v. Liberty Lobby, Inc.,
       477 U.S. 242 (1986) ............................................................................................................. 7
12
     Arroyo v. Int’l Paper Co.,
13     No. 17-CV-06211-BLF, 2020 WL 887771
       (N.D. Cal. Feb. 24, 2020) ............................................................................................. 19, 23
14
     Ayala v. U.S. Xpress Enters., Inc.,
15     No. EDCV 16-137-GW(KKX), 2019 WL 1986760
       (C.D. Cal. May 2, 2019) ..................................................................................................... 18
16
     Barrientos v. 1801-1825 Morton LLC,
17     583 F.3d 1197 (9th Cir. 2009)............................................................................................. 17
18   Bernal v. FedEx Ground Package Sys. Inc.,
       No. 2:15-cv-1448-DDP(PLAx), 2015 WL 4273034
19     (C.D. Cal. July 14, 2015) .............................................................................................. 10, 11
20   Brinker Rest. Corp. v. Superior Ct.,
       53 Cal. 4th 1004 (2012) ...................................................................................................... 15
21
     Celotex Corp. v. Catrett,
22     477 U.S. 317 (1986) ......................................................................................................... 6, 7
23   Cipollone v. Liggett Grp., Inc.,
       505 U.S. 504 (1992) ........................................................................................................... 17
24
     City of New York v. F.C.C.,
25      486 U.S. 57 (1988) ............................................................................................................. 17
26   Collins v. Overnite Transp. Co.,
       105 Cal. App. 4th 171 (2003) ............................................................................................. 15
27
     Cox v. Gannett Co.,
28     No. 1:15-cv-02075-JMS-DKL, 2016 WL 1425525
                                              iii         Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
      Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 6 of 36




 1      (S.D. Ind. Apr. 12, 2016) ...................................................................................................... 7

 2   Culp v. Konica Minolta Bus. Sols. U.S.A., Inc.,
       No. CV174274JFWJEMX, 2018 WL 5928185
 3     (C.D. Cal. Feb. 28, 2018).................................................................................................... 25

 4   Curry v. Equilon Enters., LLC,
       23 Cal. App. 5th 289 (2018) ............................................................................................... 24
 5
     Dalton v. Lee Publ’ns, Inc.,
 6     No. 08CV1072 BTM NLS, 2011 WL 1045107
       (S.D. Cal. Mar. 22, 2011) ................................................................................................... 24
 7
     Deherrera v. Decker Truck Line, Inc.
 8     820 F.3d 1147 (10th Cir. 2016)........................................................................................... 16

 9   Espinoza v. Hepta Run, Inc.,
       74 Cal. App. 5th 44 (2022) ................................................................................................. 18
10
     Farmers Ins. Exch. v. Zerin,
11     53 Cal. App. 4th 445 (1997) ............................................................................................... 13

12   Goldilocks Corp. of S. Cal. v. Ramkabir Motor Inn Inc.,
       26 F. App’x 693 (9th Cir. 2002) ......................................................................................... 11
13
     Green v. Party City Corp.,
14     No. CV-01-09681 CAS (EX), 2002 WL 553219
       (C.D. Cal. Apr. 9, 2002) ..................................................................................................... 14
15
     Gustafson v. Bell Atl. Corp.,
16     171 F. Supp. 2d 311 (S.D.N.Y. 2001) ................................................................................... 8

17   Hallak v. L3 Commc’ns Corp.,
       490 F. App’x 2 (9th Cir. 2012) ..................................................................................... 10, 11
18
     Harris v. Vector Mktg. Corp.,
19     656 F. Supp. 2d 1128 (N.D. Cal. 2009) ............................................................................... 10

20   Henderson v. Equilon Enters., LLC,
       40 Cal. App. 5th 1111 (2019) ............................................................................................. 24
21
     Henry v. Cent. Freight Lines, Inc.,
22     No. 2:16-cv-00280-JAM-EFB, 2019 WL 2465330
       (E.D. Cal. June 13, 2019) ................................................................................................... 18
23
     Hensley v. Nw. Permanente P.C. Ret. Plan & Tr.,
24     258 F.3d 986 (9th Cir. 2001) ................................................................................................ 9

25   Hernandez v. Mendoza,
       199 Cal. App. 3d 721 (1988) .............................................................................................. 24
26
     In re Bimbo Bakeries USA FLSA Actions,
27      No. C 05-00829 JW, 2008 WL 10850153
        (N.D. Cal. Oct. 24, 2008).................................................................................................... 24
28
                                              iv          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
      Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 7 of 36




 1   In re Wal-Mart Stores, Inc. Wage & Hour Litig.,
        505 F. Supp. 2d 609 (N.D. Cal.2007).................................................................................. 14
 2
     Int’l Bhd. of Teamsters, Loc. 2785 v. Fed. Motor Carrier Safety Admin.,
 3      986 F.3d 841 (9th Cir. 2021) .............................................................................................. 18

 4   Jaeger v. Matrix Essentials, Inc.,
       236 F. Supp. 2d 815 (N.D. Ohio 2002) ................................................................................. 9
 5
     Keenan v. Allan,
 6     91 F.3d 1275 (9th Cir. 1996) ................................................................................................ 7

 7   Kim v. Westmoore Partners, Inc.,
       201 Cal. App. 4th 267 (2011) ............................................................................................. 13
 8
     Klitzke v. Steiner Corp.,
 9      110 F.3d 1465 (9th Cir. 1997)....................................................................................... 15, 16

10   Kremen v. Cohen,
       337 F.3d 1024 (9th Cir. 2003)............................................................................................. 12
11
     La Jolla Cove Investors, Inc. v. Sultan Corp. Ltd.,
12     No. 11cv1628 JM(RBB), 2011 WL 4916138
       (S.D. Cal. Oct. 17, 2011) .................................................................................................... 13
13
     Labrie v. UPS Supply Chain Sols, Inc.,
14     No. C 08-3182 PJH, 2008 WL 11404501
       (N.D. Cal. Oct. 3, 2008) ............................................................................................... 10, 11
15
     Lazar v. Superior Ct.,
16     12 Cal. 4th 631 (1996) .......................................................................................................... 8

17   Lightfoot v. Wahoo Logistics, Inc.
       No. FCS050578 (Cal. Super. Ct. Feb. 1, 2022) ................................................................... 24
18
     Madrigal v. Tommy Bahama Grp., Inc.,
19    No. CV 09-08924 SJO MANX, 2010 WL 4384235
      (C.D. Cal. Oct. 18, 2010) .................................................................................................... 14
20
     Magadia v. Wal-Mart Assocs., Inc.,
21    999 F.3d 668 (9th Cir. 2021) ........................................................................................ 20, 21

22   Martinez v. Combs,
      49 Cal. 4th 35 (2010) .......................................................................................................... 24
23
     Mejia v. Farmland Mutual Insurance,
24     No. 2:17–cv–00570–TLN–KJN, 2018 WL 3198006
       (E.D. Cal. June 26, 2018) ............................................................................................. 20, 21
25
     Miller v. Yokohama Tire Corp.,
26     358 F.3d 616 (9th Cir. 2004) .............................................................................................. 10

27   Morris v. McComb,
      332 U.S. 422 (1947) ........................................................................................................... 17
28
                                               v          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
      Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 8 of 36




 1   Nelson v. FedEx Ground Package Sys., Inc.,
       No. 1:18-cv-01378, 2019 WL 1437765
 2     (D. Colo., Feb. 8, 2019) ...................................................................................................... 16

 3   Nguyen v. Stephens Inst.,
       529 F. Supp. 3d 1047 (N.D. Cal. 2021) ............................................................................... 13
 4
     Noe v. Superior Ct.,
 5     237 Cal. App. 4th 316 (2015) ................................................................................. 20, 21, 22

 6   Oglesby v. FedEx Ground Package Sys., Inc.,
       No. 3:20-CV-346, 2021 WL 3560884
 7     (S.D. Ohio Aug. 11, 2021) ................................................................................................ 8, 9

 8   Patton v. Midwest Constr. Servs., Inc.,
       No. CV 19-8580-JFW(MAAX), 2021 WL 2982277
 9     (C.D. Cal. June 11, 2021) ................................................................................................... 18

10   Porch v. Masterfoods, USA, Inc.,
       685 F. Supp. 2d 1058 (C.D. Cal. 2008),
11     aff’d, 364 F. App’x 365 (9th Cir. 2010) .............................................................................. 25

12   Price v. Starbucks Corp.,
       192 Cal. App. 4th 1136 (2011) ........................................................................................... 21
13
     Reber v. AIMCO,
14     No. SA CV07–0607 DOC (RZx), 2008 WL 4384147
       (C.D. Cal. Aug. 25, 2008)................................................................................................... 24
15
     Remington v. J.B. Hunt Transport, Inc.,
16     Nos. 15-10010-RGS & 15-13019-RGS, 2017 WL 1552316
       (D. Mass. Apr. 28, 2017) ...................................................................................................... 7
17
     Ridgeway v. Wal-Mart Stores, Inc.,
18     No. C 08-05221 SI, 2014 WL 2600326
       (N.D. Cal. June 10, 2014) ................................................................................................... 20
19
     Robinson v. Chefs’ Warehouse, Inc.,
20     No. 15-CV-05421-RS, 2019 WL 4278926
       (N.D. Cal. Sept. 10, 2019) .................................................................................................. 18
21
     Salazar v. McDonald’s Corp.,
22     944 F.3d 1024 (9th Cir. 2019)............................................................................................. 24

23   Sales v. United Road Svcs.,
       No. 19-cv-08404-JST, 2020 WL 4035072
24     (N.D. Cal. July 17, 2020).............................................................................................. 18, 19

25   Salter v. Quality Carriers, Inc.,
       No. CV 20-479-JFW(JPRX), 2021 WL 5049054
26     (C.D. Cal. Oct. 27, 2021) .................................................................................................... 18

27   Santiago v. Amdocs, Inc.,
       No. C 10-4317 SI, 2011 WL 1303395
28     (N.D. Cal. Apr. 2, 2011) ..................................................................................................... 14
                                              vi          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
      Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 9 of 36




 1   Sharp v. Waterfront Rests.,
       No. 99-CV-200 TW (AJB), 1999 WL 1095486
 2     (S.D. Cal. Aug. 2, 1999) ..................................................................................................... 20

 3   Shaw v. Delta Air Lines, Inc.,
       463 U.S. 85 (1983) ............................................................................................................... 8
 4
     Stephenson v. Argonaut Ins. Co.,
 5      125 Cal. App. 4th 962 (2004) ............................................................................................. 10

 6   Sweet v. United Parcel Serv., Inc.,
       No. 09-02653, 2010 WL 11507624
 7     (C.D. Cal., Oct. 13, 2010) ....................................................................................... 15, 16, 17

 8   Thole v. U. S. Bank N.A,
       140 S. Ct. 1615 (2020)........................................................................................................ 13
 9
     Tomco v. Prada USA Corp.,
10     484 F. App’x 99 (9th Cir. 2012) ......................................................................................... 25

11   Utne v. Home Depot U.S.A., Inc.,
       No. 16-CV-01854-RS, 2019 WL 3037514
12     (N.D. Cal. July 11, 2019).................................................................................................... 23

13   Vizcaino v. Microsoft Corp.,
        120 F.3d 1006 (9th Cir. 1997)............................................................................................. 21
14
     Voris v. Lampert,
15     7 Cal. 5th 1141 (2019) ............................................................................................ 12, 13, 14

16   Ward v. United Airlines, Inc.,
       9 Cal. 5th 732 (2020) .................................................................................................... 20, 22
17
     Wolf v. Coca-Cola Co.,
18     200 F.3d 1337 (11th Cir. 2000)............................................................................................. 9

19   Woods v. Vector Mktg. Corp.,
       No. C-14-0264 EMC, 2015 WL 2453202
20     (N.D. Cal. May 22, 2015) ................................................................................................... 24

21   Yastrab v. Apple Inc.,
       173 F. Supp. 3d 972 (N.D. Cal. 2016)............................................................................. 8, 11
22

23   Statutes

24   29 U.S.C. § 1002 ...................................................................................................................... 8

25   29 U.S.C. § 1003 ...................................................................................................................... 8

26   49 U.S.C. § 113 ...................................................................................................................... 18

27   49 U.S.C. § 31141 ............................................................................................................ 17, 18

28   Business and Professions Code Section §§ 17200 et seq ........................................................... 4
                                               vii         Case No. 4:18-cv-07553-PJH (DMR)
        FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                     JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 10 of 36




 1   Cal. Lab. Code § 1174.5 ......................................................................................................... 22

 2   Cal. Lab. Code § 226 ........................................................................................................ 19, 20

 3   Civ. Proc. Code § 340 ............................................................................................................. 25

 4
     Rules
 5
     Fed. R. Civ. P. 56 ................................................................................................................. 6, 7
 6

 7   Regulations

 8   29 C.F.R. § 782.7 ................................................................................................................... 16

 9   49 C.F.R. § 1.87 ..................................................................................................................... 18

10   49 C.F.R. § 390.5 ............................................................................................................. 15, 16

11   49 C.F.R. § 395.1 ................................................................................................................... 15

12   8 C.C.R. § 11090 .............................................................................................................. 15, 17

13   8 C.C.R. § 13520 .................................................................................................................... 23

14   83 Fed. Reg. 67470-01 (2018) ................................................................................................ 18

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                                               viii        Case No. 4:18-cv-07553-PJH (DMR)
        FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                     JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 11 of 36




 1              NOTICE OF MOTION, MOTION, AND STATEMENT OF ISSUES

 2          FedEx Ground notifies all parties and counsel of record that on May 12, 2022, at 1:30

 3   p.m. it moves for summary judgment on Plaintiffs’ claims on the following issues:

 4          FedEx Ground is entitled to full judgment on Plaintiffs’ claims for fraudulent

 5   misrepresentation (claim 1), conversion (claim 2), meal periods (claim 4), rest periods (claim

 6   5), overtime (claim 7), payroll records (claim 8), accurate wage statements (claim 9), and

 7   waiting time penalties (claim 10). FedEx Ground is also entitled to judgment on Plaintiffs’

 8   claims for wages (claims 3 and 6), violations of the UCL (claim 11), and under PAGA (claim

 9   12) to the extent those claims are derivative. Finally, FedEx Ground is entitled to dismissal of

10   Overpeck’s representative PAGA claim entirely, and for an entry of judgment that any

11   remaining PAGA claim is limited to January 29, 2019, through present.

12                      MEMORANDUM OF POINTS AND AUTHORITIES

13          Many issues in this case are “hotly contested,” as Plaintiffs’ counsel has stated. This is

14   particularly true when it comes to the issue of whether FedEx Ground jointly employed

15   Plaintiffs along with their Service Provider employers. But, putting aside these “hotly

16   contested” disputes, most of Plaintiffs’ claims cannot stand against the applicable legal

17   authority when applied to the facts in this case that are not, and cannot be, disputed. FedEx

18   Ground is entitled to summary judgment as follows.

19          Fraudulent Misrepresentation and Conversion (claims 1 and 2). (a) Plaintiffs have no

20   entitlement to the benefits they claim under the plain language of those policies. As such,

21   Plaintiffs cannot prove damages for their fraud claim, nor can they prove the required

22   ownership interest for their conversion claim. (b) Plaintiffs’ fraud claim is based on a

23   purported misrepresentation of law about Plaintiffs’ employment status. As this Court, and

24   many others, have held, a misrepresentation of employment status is a non-actionable

25   “misrepresentation of law.” (c) Plaintiffs have not provided any evidence of justifiable reliance

26   on a statement by FedEx Ground, resulting in a changed position. (d) Conversion, if it involves

27   money, requires it to be a “specific, identifiable sum.” The evidence shows that is not the case

28   here. (e) Plaintiffs use their common-law claims to seek damages for the alleged deprivation of
                                               1          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 12 of 36




 1   “wages and other benefits of employment,” but “the Labor Code’s remedies are intended to be

 2   exclusive, and thus preclude common law claims based on the same conduct.” (Order Denying

 3   Class Cert. 10, ECF 362.)

 4           Overtime (claim 7). Because Plaintiffs drove vehicles that required them to comply

 5   with the U.S. Department of Transportation (DOT) hours-of-service regulations, California’s

 6   Motor Carrier Exemption excludes Plaintiffs from any right to overtime pay.

 7           Meal and Rest Breaks (claims 4 and 5). Because the DOT regulated Plaintiffs’ hour of

 8   service, the Federal Motor Carrier Safety Act preempts California’s meal-and-rest-break

 9   requirements.

10           Wage Statements (claim 9). (a) Plaintiffs provide no support for the premise that a

11   violation occurs if a putative joint employer is not listed on a wage statement. (b) Plaintiffs

12   have no evidence that they were prevented from making any grievances or confused in terms of

13   unemployment or tax issues and, therefore, they cannot prove any injury. (c) Plaintiffs have

14   provided no evidence that FedEx Ground knowingly and intentionally violated this statute.

15   Instead, the opposite is true: there is a good-faith dispute as to whether FedEx Ground is

16   Plaintiffs’ joint employer, particularly where no court has ever found FedEx Ground to be a

17   joint employer. (d) As to Plaintiff Overpeck, his claim fails for all but eight weeks of time

18   because he was based in New Jersey and not spending a majority of his time in California.

19   (e) To the extent based on a failure to pay overtime or meal-and-rest-break premiums, this

20   claim also fails as derivative.

21           Payroll Records (claim 8). Plaintiffs have no evidence that FedEx Ground willfully

22   violated the Labor Code’s recordkeeping requirements, and any purported violated committed

23   by Plaintiffs’ Service Provider employers cannot be imputed to FedEx Ground. Further, FedEx

24   Ground’s good-faith basis to believe it was not Plaintiffs’ joint employer precludes liability.

25           Waiting Time (claim 10). As with Plaintiffs’ payroll records claim, this claim fails due

26   to FedEx Ground’s good-faith basis to believe it was not Plaintiffs’ joint employer.

27           Failure to Pay for All Hours Worked (claim 3) and Failure to Pay Minimum Wage

28   (claim 6). These claims fail to the extent they are based on a supposed failure to provide
                                               2          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 13 of 36




 1   benefits, pay overtime, or pay meal-and-rest-break premiums.

 2          Unfair Competition and Unlawful Business Practices (claim 11). This claim fails

 3   where based on the underlying claims that fail as discussed above.

 4          PAGA (claim 12). (a) This claim fails where based on the underlying claims that fail as

 5   discussed above. (b) Because Plaintiff Overpeck now proceeds only in his individual capacity,

 6   his representative PAGA claim must be dismissed. As a result, the remaining Plaintiffs’ PAGA

 7   claims are limited to alleged violations that occurred on or after January 29, 2019. (c) As to

 8   package-and-delivery drivers (in contrast to linehaul drivers), the PAGA time period starts on

 9   January 29, 2019, regardless of the dismissal of Mr. Overpeck’s PAGA claim, because

10   Mr. Overpeck’s notice included only “TEAM TRACTOR TRAILER drivers.”

11                     STATEMENT OF UNDISPUTED, MATERIAL FACTS

12          A.      FedEx Ground Contracts with Thousands of Small Businesses to Provide

13                  Delivery Services Throughout the United States

14          FedEx Ground is a federally-registered motor carrier that operates a package pickup and

15   delivery network throughout the United States, consisting of thousands of stations and hubs.

16   (Decl. of T. Means (Means Decl.) ¶¶ 3-4, filed concurrently.) Customers contract with FedEx

17   Ground for pickup and delivery of packages and for information about where their packages are

18   in the delivery process. (Id. ¶ 5.) FedEx Ground, in turn, contracts with thousands of separate

19   businesses, Service Providers, to provide (1) “linehaul services” to transport trailers of

20   packages between FedEx Ground hubs and stations, and (2) “first-and-last mile” pickup and

21   delivery service between FedEx Ground stations and customers. (Id.) Service Providers have

22   their employees carry out the physical pickup and delivery or hub-to-hub transportation. (Id.)

23          Under their agreements, Service Providers agree to treat all personnel as their

24   employees. (Id. ¶ 7.) Service Providers agree to “bear all expenses associated with the

25   employment” of their employees, including “wages, salaries, [and] benefits.” (Id.) They also

26   “assume sole responsibility for . . . maintenance of payroll and employment records, and for

27   compliance with Applicable Law, including without limitation, wage payment, final payment

28   of wages, . . . overtime, and rest and meal periods.” (Id.) Each year, Service Providers submit
                                               3          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 14 of 36




 1   to FedEx Ground a written certification of their compliance with these obligations, and FedEx

 2   Ground may request proof of compliance. (Id. ¶ 14.)

 3           As a registered motor carrier, FedEx Ground is subject to the regulatory authority of the

 4   DOT and the Federal Motor Carrier Safety Administration (“FMCSA”). (Id. ¶¶ 3, 16.) DOT

 5   regulations impose numerous obligations on FedEx Ground, and on Service Providers because

 6   they operate under FedEx Ground’s DOT authority. (Id. ¶ 16.) Any commercial motor vehicle

 7   driver who operates a vehicle with a Gross Vehicle Weight Rating (GVWR) of 10,001 pounds

 8   or more (a “heavy vehicle”) is subject to the provisions of Part 395 of the Federal Motor

 9   Carrier Safety Regulations (“Hours of Service of Drivers”). (Id. ¶ 17.) Because linehaul

10   drivers haul large volumes of freight long distances, they drive “big rigs”—what lay people

11   think of as a semi-truck—that necessarily have a GVWR exceeding 26,000 pounds. (Id. ¶ 15.)

12           B.     Plaintiffs Worked as Drivers for Various Service Providers, Primarily or

13                  Exclusively, in Heavy Vehicles

14           Plaintiffs were employed as drivers by several Service Providers during the relevant

15   period 1—Plaintiff Sterling as a pickup and delivery driver, and Plaintiffs Overpeck and

16   Sobaszkiewicz as linehaul drivers. (Sobaszkiewicz Decl. ¶¶ 3-4, 16, ECF 287-2 at 14-24;

17   Sterling Decl. ¶¶ 1-3, ECF 287-2 at 25-38; Overpeck Dep. 18:22-19:18, 20:2-16, 50:11-

18   51:21 2.) Plaintiffs admit that they discussed their pay with their Service Providers, and that

19   their Service Providers paid them. (See, e.g., Sterling Decl. ¶ 3; Sterling Dep. 103:10-22,

20   104:12-25; Sobaszkiewicz Decl. ¶ 3; Sobaszkiewicz Dep. 135:1-20, 166:6-167:14; Overpeck

21   Dep. 195:1-7, 197:7-20, 199:5-200:18 & Ex. 15; see also Means Decl. ¶ 13.)

22           Records maintained for purposes of DOT compliance show that Mr. Sterling primarily

23   drove heavy vehicles during the relevant period. Of the 1,176 days that Sterling drove, 1,013 was

24   in a heavy vehicle, or 86 percent of the time. (Means Decl. ¶¶ 26-27 & Ex. D.) As linehaul

25
     1
26     Plaintiffs filed their Complaint on December 14, 2018. Their claim with the longest statute of
     limitations—for violation of Business and Professions Code Section §§ 17200 et seq. (“the
27   UCL claim”)—has a four-year statute of limitations. Thus, the relevant period is December 14,
     2014, to the last day each Plaintiff drove for a Service Provider.
28   2
       All non-declaration exhibits are attached to the Declaration of J. Scott, filed concurrently.
                                                 4          Case No. 4:18-cv-07553-PJH (DMR)
         FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                      JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 15 of 36




 1   drivers, Plaintiffs Overpeck and Sobaszkiewicz always drove heavy vehicles, either across the

 2   United States or between hubs in California. (Sobaszkiewicz Decl. ¶¶ 4, 7; Overpeck Dep.

 3   228:6-230:16.) With the exception of the time he worked for Bondz, Mr. Overpeck worked for

 4   Service Providers based in New Jersey. (Overpeck Dep. 18:22-19:18, 20:2-16, 26:16-27:13,

 5   50:11-51:21, 190:8-191:12, 192:8-24 & Ex. 15 at OVERPECK_000060-71.)

 6          C.       FedEx Ground Excludes Service Providers and Their Employees from

 7                   Eligibility in Its Employee Benefits Plans

 8          FedEx Ground offers various benefits plans to certain employees, including health,

 9   retirement, and short- and long-term disability. (Beaudoin Dep. 34:15-35:20, 38:12-39:19,

10   55:5-21, 56:16-57:4, 64:15-18, 65:11-20, 78:15-80:20, 115:9-23, 117:1-13 & Exs. 2-6, 10-11.)

11   FedEx Corporation, FedEx Ground’s parent company, is the plan sponsor and administrator for

12   some of these plans, while FedEx Ground is the sponsor and administrator for others. (Id. at

13   64:19-22, 74:13-75:1, 76:21-77:18.)

14          The plans provide coverage to an “Employee” or “Eligible Employee,” as defined by

15   each plan. (Beaudoin Dep. Exs. 2-6, 10-11.) Each plan’s definition, however, expressly

16   excludes Service Providers’ employees. (Id. at 119:18-22 (“Q. Okay. So am I correct, sir, that

17   no individual driving routes and delivering packages for FedEx Ground customers under an ISP

18   independent service provider receives any health, retirement, pension, or disability benefits

19   from FedEx Ground? A. That’s correct. Q. And that FedEx Corp and/or FedEx Ground have

20   exclusively excluded individuals from coverage in all of its benefit plans, correct? A. Yes.”);

21   see also id. at 103:5-12.) The following chart makes this clear:

22    Benefit Plan               Relevant Exclusionary Language

23    FedEx Corporation          “The term Employee shall not include any independent contractor
      Employee’s Pension         or service provider or agent or employee of an independent
24    Plan                       contractor or service provider, even if such independent or other
                                 person is later determined by a court or administrative agency
25                               having competent jurisdiction to be a common law employee of
26                               the employer.” (Beaudoin Dep. 104:6-105:21, & Ex. 2, ¶ 1.29.)

27    FedEx Corporation          “Employee . . . shall not include an individual who is classified by
      Group Health Plan          participating employer as a leased employee, an independent
28                               contractor, or an agent, or an employee of an independent
                                               5          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 16 of 36




 1                               contractor, regardless of whether such individual is later
                                 reclassified as a common law employee by a court or government
 2                               agency having competent jurisdiction.” (Id. 108:1-25, & Ex. 3.)
 3    FedEx Corporation       “Eligible Employee shall mean an Employee who is . . . not a
 4    Retirement Savings Plan leased employee, an independent contractor, or an employee or
                              agent of an independent contractor, regardless of whether a court
 5                            or government agency of competent jurisdiction subsequently re-
                              classifies such individual as a common law employee of a
 6                            participating employer.” (Id. 109:16-111:9, & Ex. 4, ¶ 1.25.)
 7    Healthcare Account         “[T]he term ‘[E]mployee’ shall not include any individual who
 8    Plan of FedEx Ground       has been classified by the employer as an independent contractor,
      Package System, Inc.       leased employee, or any other classification other than common
 9                               law employee, even if such individual has been reclassified as
                                 common law employee of the employer pursuant to . . . a court of
10                               competent jurisdiction.” (Id. 112:8-113:10, & 5, ¶ 1.8.)
11    FedEx Ground Package       “‘Employee’ . . . shall not include any individual characterized by
12    System, Inc. Flex Plan     an Employer as an independent contractor, leased employee, or
                                 any other individual who is not treated by an employer as an
13                               employee, for purposes of withholding federal income tax,
                                 regardless of any contrary . . . judicial determination relating to
14                               such employment status.” (Id. 113:11-114:16, & Ex. 6, ¶ 1.10.)
15    FedEx Ground Package       “Employee shall mean an individual employed by the Employer
      System, Inc. Long Term     but shall not include an individual who is classified by an
16
      Disability Plan            employer as a leased employee, an independent contractor, or an
17                               agent or employee of an independent contractor, regardless of
                                 whether any such person who is classified by an Employer as an
18                               independent contractor is later reclassified as a common law
                                 employee by a court or government agency having competent
19                               jurisdiction.” (Id. 115:20-116:22, & Ex. 10, § 1.1(n).)
20
      FedEx Ground Package “‘Employee’ . . . exclud[es] however, an employee . . . [w]ho is
21    System, Inc. Short-Term treated by the Employer as an independent contractor or leased
      Disability              employee, or otherwise not treated as an employee under the
22                            employer’s general policies or guidelines, even if such individual
                              is later determined by a court or an administrative agency having
23                            competent jurisdiction to be a common law employee of the
                              employer.” (Id. 118:3-119:20, & Ex. 11, ¶ 2.7.)
24

25                              SUMMARY JUDGMENT STANDARD

26          Summary judgment is appropriate where the movant shows “there is no genuine dispute

27   as to any material fact” with respect to an essential element of the non-moving party’s claim

28   and “the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Celotex
                                               6          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 17 of 36




 1   Corp. v. Catrett, 477 U.S. 317, 323 (1986). The burden then shifts to the non-moving party to

 2   designate “specific facts showing that there is a genuine issue for trial,” and to identify, with

 3   reasonable particularity, the evidence that precludes summary judgment. Celotex, 477 U.S. at

 4   323; see also Fed. R. Civ. P. 56(c)(1) (“A party asserting that a fact . . . is genuinely disputed

 5   must support the assertion by . . . citing to particular parts of materials in the record . . . .”);

 6   Keenan v. Allan, 91 F.3d 1275, 1279 (9th Cir. 1996). “The mere existence of a scintilla of

 7   evidence in support of the plaintiff’s position will be insufficient . . .” Anderson v. Liberty

 8   Lobby, Inc., 477 U.S. 242, 252 (1986).

 9                                               ARGUMENT

10       I.   PLAINTIFFS’ COMMON-LAW CLAIMS FOR WAGES AND BENEFITS FAIL

11            Recognizing they cannot bring an ERISA claim for benefits (they lack standing and

12   have not administratively exhausted their request), Plaintiffs attempt to plead around ERISA

13   and assert common-law claims for fraudulent misrepresentation and conversion. Those claims

14   seek damages for FedEx Ground’s failure to provide Plaintiffs with the “wages and benefits of

15   employment,” including participation in its 401(k) or retirement plan, health care plan, life

16   insurance plan, short- and long-term disability plans, and dependent care plan. (1st Am. Class

17   Action Compl. (“FAC”) ¶¶ 109, 114, ECF 371.) Plaintiffs’ common-law claims fail for the

18   same reason an ERISA claim would fail—Plaintiffs have no entitlement to benefits under the

19   plain language of those policies. 3 Their fraud claim also fails because it is based on an alleged

20
     3
21     If Plaintiffs argue they are included in the plans, then their claims would be preempted by
     ERISA and fail as a matter of law. See, e.g., Aetna Health Inc. v. Davila, 542 U.S. 200, 208
22   (2004) (“[A]ny state-law cause of action that duplicates, supplements, or supplants the ERISA
     civil enforcement remedy conflicts with the clear congressional intent to make the ERISA
23   remedy exclusive and is therefore preempted.”). Regardless, ERISA pre-empts these claims
     even as currently stated. See, e.g., Remington v. J.B. Hunt Transport, Inc., Nos. 15-10010-RGS
24   & 15-13019-RGS, 2017 WL 1552316, at * (D. Mass. Apr. 28, 2017) (holding that state claim
     for unpaid benefits based on misclassification was preempted because “to adjudicate plaintiffs’
25   Wage Act benefit claims here, the court would be required to look to the terms of the ERISA
     plans to determine whether, had plaintiffs been classified as employees, they would have been
26   eligible as plan participants”); Cox v. Gannett Co., No. 1:15-cv-02075-JMS-DKL, 2016 WL
     1425525, at *2-7 (S.D. Ind. Apr. 12, 2016) (ERISA preempted common law claims for fraud
27   and unjust enrichment to the extent plaintiff sought damages in the form of unpaid benefits he
     allegedly would have received if properly classified as the defendant’s employee); Aguilar v.
28   CTB McGraw-Hill, LLC, No. C 06-02160 JW, 2006 WL 8446861, at *6 (N.D. Cal. Dec. 5,
     2006) (dismissing contract claims to the extent based on the failure to provide benefits);
                                                 7          Case No. 4:18-cv-07553-PJH (DMR)
         FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                      JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 18 of 36




 1   misrepresentation of law, and because they have no evidence of justifiable reliance. Finally,

 2   the claims fail because they are preempted by the California Labor Code.

 3          A.      Plaintiffs Cannot Prove All Elements of a Fraudulent Misrepresentation

 4                  Claim As a Matter of Law

 5          “The elements of intentional misrepresentation in California are: (1) misrepresentation;

 6   (2) knowledge of falsity; (3) intent to defraud or to induce reliance; (4) justifiable reliance; and

 7   (5) resulting damage.” Yastrab v. Apple Inc., 173 F. Supp. 3d 972, 977-78 (N.D. Cal. 2016);

 8   see also Akkerman v. Mecta Corp., 152 Cal. App. 4th 1094, 1103 (2007) (each individual has to

 9   “prove his individual claim for restitution by establishing reliance and causation”). The

10   material undisputed facts show that Plaintiffs cannot prove several of these required elements.

11                  1.      Plaintiffs Cannot Prove Damages When They Have No Right to Benefits

12                          Under the Plain Language of the Benefit Plans

13          Plaintiffs’ fraud claim requires them to prove damages resulting from FedEx Ground’s

14   alleged misrepresentation. See Lazar v. Superior Ct., 12 Cal. 4th 631, 638 (1996). But

15   Plaintiffs cannot do so here, as they never had or will have any right to benefits under the plain

16   language of the plans. As shown in the chart above, Service Providers’ employees were

17   expressly excluded from its benefit plans, including in the event that a court finds FedEx

18   Ground to be their employer. (See Facts § C, supra; see also Beaudoin Dep. 119:19-22

19   (“FedEx Corp and/or FedEx Ground have exclusively excluded [Service Provider drivers] from

20   coverage in all of its benefit plans, correct? A. Yes.”).)

21          FedEx Ground was well within its rights to make such exclusions. See Oglesby v.

22   FedEx Ground Package Sys., Inc., No. 3:20-CV-346, 2021 WL 3560884, at *4 (S.D. Ohio

23   Aug. 11, 2021) (rejecting that FedEx Ground’s plans’ exclusionary language violates “public

24   policy”). “ERISA does not mandate that employers provide any particular benefits . . .”4 Shaw

25

26
     Gustafson v. Bell Atl. Corp., 171 F. Supp. 2d 311, 328-29 (S.D.N.Y. 2001) (preempting fraud
27   and negligent misrepresentation to the extent those claims sought to recover unpaid benefits).
     4
       Plaintiffs cannot dispute that the benefit plans at issue are governed by ERISA. See 29 U.S.C.
28   §§ 1002, 1003.
                                               8          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 19 of 36




 1   v. Delta Air Lines, Inc., 463 U.S. 85, 91 (1983); see also Hensley v. Nw. Permanente P.C. Ret.

 2   Plan & Tr., 258 F.3d 986, 1001 (9th Cir. 2001) (“ERISA contemplates that there will be plans

 3   that do not cover all categories of employees.”), overruled on other grounds by Abatie v. Alta

 4   Health & Life Ins. Co., 458 F.3d 955 (9th Cir. 2006); Wolf v. Coca-Cola Co., 200 F.3d 1337,

 5   1340 (11th Cir. 2000) (“[C]ompanies are not required by ERISA to make their ERISA plans

 6   available to all common law employees.”).

 7          Federal courts have routinely upheld similar plan exclusions. In Oglesby, the Southern

 8   District of Ohio entered judgment for FedEx Ground on an Ohio driver’s ERISA benefits

 9   claim, rejecting similar allegations that FedEx Ground improperly “classified” her and other

10   drivers as Service Provider employees. 2021 WL 3560884, at *3-4. After analyzing the same

11   exclusionary language at issue here, the court held that “each of the Plans contains clear and

12   unambiguous exclusions making Plaintiff and the putative class members ineligible for

13   benefits.” Id. at *3. Because “[n]othing in ERISA . . . requires employers to establish

14   employee benefit plans or to provide any particular benefits,” the court held that FedEx Ground

15   could not be held liable for failing to provide benefits to drivers. Id. at *4; see also Jaeger v.

16   Matrix Essentials, Inc., 236 F. Supp. 2d 815, 825 (N.D. Ohio 2002) (granting summary

17   judgment on ERISA benefits claim where the plan expressly excluded independent contractors

18   even if they were subsequently found to be employees).

19          Aguilar v. CTB McGraw Hill, LLC is also instructive. There, the plaintiff alleged that

20   the defendant intentionally misclassified her as a temporary worker to wrongfully deprive her

21   of employee benefits. No. C 06-02160 JW, 2006 WL 8446861, at *5 (N.D. Cal. Dec. 5, 2006).

22   The district court dismissed the claims, holding that even if the worker was found to have been

23   misclassified, “the relevant terms of the plans indisputably establish that Plaintiff is ineligible

24   for benefits.” Id. at *4-5. Similar to here, the plans at issue excluded leased employees,

25   “regardless of whether or not such characterization is subsequently challenged, changed or

26   upheld by any court or government authority.” Id. at *4. Because companies are not required

27   to make their ERISA plans available to all employees, the plain language of the plans meant

28   that the plaintiff could not claim entitlement to the benefits. Id. at *4-5. This was true even if
                                               9          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 20 of 36




 1   the employer “mislabel[ed] their long-term employees to avoid paying benefits.” Id. at *5.

 2           The Court should come to the same conclusion. Because Plaintiffs have no right to the

 3   benefits they claim as a matter of law, under the plain language of those plans, they cannot

 4   prove they experienced any cognizable harm as a result of the alleged fraud. See Stephenson v.

 5   Argonaut Ins. Co., 125 Cal. App. 4th 962, 974-75 (2004) (dismissing fraud claim because, “due

 6   to the lack of any potential coverage for Guardado’s civil suit, plaintiff’s assertion that

 7   defendant misrepresented its status as an insured did not result in any compensable injury”).

 8                  2.      Plaintiffs Cannot Prove an Actionable Misrepresentation Because Their

 9                          Claim Is Based on a Legal Position Taken by FedEx Ground

10           Plaintiffs’ fraud claim also fails for the independent reason that the representation

11   underlying it—that “FedEx has fraudulently misrepresented the employment status of Plaintiffs

12   and the Class Members by labeling them as merely ‘vendors’ of FedEx rather than employees”

13   (FAC ¶ 27; id. ¶¶ 6, 57, 89, 104-05, 1085)—cannot form the basis of a fraud claim. “A

14   statement that an individual is a contractor, vendor, or an employee of a contractor is a

15   statement of law.” Bernal v. FedEx Ground Package Sys. Inc., No. 2:15-cv-1448-DDP(PLAx),

16   2015 WL 4273034, at *3 (C.D. Cal. July 14, 2015) (citing Harris v. Vector Mktg. Corp., 656

17   F. Supp. 2d 1128, 1136 (N.D. Cal. 2009)). And, as this Court has explained, “the law is clear

18   that a misrepresentation based on the law, is not actionable.” Labrie v. UPS Supply Chain Sols,

19   Inc., No. C 08-3182 PJH, 2008 WL 11404501, at *1 (N.D. Cal. Oct. 3, 2008) (citing Miller v.

20   Yokohama Tire Corp., 358 F.3d 616, 621 (9th Cir. 2004)); see also Hallak v. L3 Commc’ns

21   Corp., 490 F. App’x 2, 5-6 (9th Cir. 2012) (“[F]raud cannot be predicated upon

22   misrepresentations of law.”).

23           As a result, this Court and others routinely reject attempts to base a fraud claim on a

24

25   5
       See also Sterling Decl. ¶ 40 (“FedEx tells me that I am not its employee. FedEx’s managers
     at the station refer to us as ‘drivers’ or ‘vendors,’ but not as employees. And, the ID badge I
26   received from FedEx says ‘The holder of this badge is a VENDOR to FedEx Ground. The
     holder is not an employee of FedEx Ground.’ . . . I see this representation from FedEx on a
27   routine basis, which reminds me that, whatever my legal status with FedEx may actually be,
     FedEx still tells me that I am not its employee.”); Sobaszkiewicz Decl. ¶ 48 (“FedEx
28   consistently misrepresented to me that I was just a vendor, not a FedEx employee.”).
                                                10          Case No. 4:18-cv-07553-PJH (DMR)
         FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                      JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 21 of 36




 1   representation about employment status. See, e.g., Labrie, 2008 WL 11404501, at *1

 2   (dismissing claim based on allegations that UPS misrepresented plaintiffs’ status as

 3   independent contractors, because a “misrepresentation of plaintiffs’ employment status” is a

 4   “misrepresentation of law”); Hallak, 490 F. App’x at 5-6 (affirming dismissal of fraud claim

 5   based on theory that “defendants committed fraud by leading plaintiffs to believe they were

 6   independent contractors rather than employees”). Indeed, in Bernal, the Central District of

 7   California dismissed a nearly-identical claim in the misclassification context, finding that the

 8   plaintiff could not base a fraud claim on FedEx Ground’s alleged “misrepresentations that

 9   Plaintiffs were contractors, not employees. 2015 WL 4273034, at *3. The court explained that

10   “although the facts may ultimately show that Plaintiffs were misclassified as contractors rather

11   than employees, a misrepresentation by Defendants that Plaintiffs were employed by the

12   Trucking Companies could not form the basis of a fraud claim.” Id.

13          The same outcome should follow here. Because the central premise of Plaintiffs’ fraud

14   claim is a misrepresentation of Plaintiffs’ employment status, it fails as a matter of law.

15                  3.      The Record Lacks Any Evidence Showing Plaintiffs Can Prove

16                          Justifiable Reliance

17          Plaintiffs’ fraud claim also requires them to prove that they justifiably relied on a

18   statement by FedEx Ground. See Yastrab, 173 F.Supp.3d at 978 (plaintiffs “must sufficiently

19   allege an actionable misrepresentation and reliance on that representation”). But Plaintiffs have

20   failed to identify any justifiable reliance on the “vendor” statement they claim was the

21   misrepresentation—that is, Plaintiffs provide no evidence that they “somehow changed [their]

22   position in reliance on the [alleged] fraudulent misrepresentation.” Goldilocks Corp. of S. Cal.

23   v. Ramkabir Motor Inn Inc., 26 F. App’x 693, 696 (9th Cir. 2002). And Plaintiffs have never

24   pled or testified that FedEx Ground told them they would get benefits or that they were its

25   employees before they accepted employment with their Service Providers. Plaintiffs therefore

26   could not even attempt to argue now that they accepted “employment” with FedEx Ground on

27   the understanding that they would receive benefits.

28          To the contrary, the evidence (and, indeed, allegations), shows that Plaintiffs
                                              11          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 22 of 36




 1   understood that they would not receive benefits from FedEx Ground. Plaintiff Sobaszkiewicz

 2   attested only that “after getting the message that I was not a FedEx employee and not eligible

 3   for the benefits they received, I did not feel that I was in a position to seek these benefits.”

 4   (Sobaszkiewicz Decl. ¶ 48). At the same time, however, Ms. Sobaszkiewicz testified that she

 5   does not think “anything ever came up” about whether she was a FedEx Ground employee, and

 6   that she only had some conversations with other drivers about how it would be nice to have

 7   benefits. (Sobaszkiewicz Dep. 24:20-25:4, 231:18-232:22; id. at 179:19-181:5 (when asked

 8   what was on her badge, noting only that it said “FedEx” on it, mentioning nothing about

 9   “vendor”); id. at 233:1-234:16 (explaining that her statement in her declaration about benefits

10   was regarding realizing she was not included in company barbeques).) That is the opposite of

11   somehow changing her position in reliance on FedEx Ground’s supposed misrepresentation.

12          And Plaintiff Sterling admitted that when his first Service Provider hired him, they had

13   no discussion about benefits. (Sterling Dep. 37:21-38:16.) Despite this, Mr. Sterling said he

14   believed he “would have access to these benefits from FedEx when [he] started working for

15   FedEx” but was “soon disappointed to learn that FedEx excluded me and the other drivers from

16   its employee benefit plans.” (Sterling Decl. ¶ 39.) This is not a change in position or reliance

17   on any statement by FedEx Ground as related to benefits. Plaintiffs’ claim thus fails for yet

18   another independent reason.

19          B.      Plaintiffs Cannot Prove a Property Interest in Employee Benefits to

20                  Support a Viable Conversion Claim

21          The plain language of FedEx Ground’s benefits plans is also fatal to Plaintiffs’

22   conversion claim. Under California law, conversion is “the wrongful exercise of dominion

23   over personal property of another.” Voris v. Lampert, 7 Cal. 5th 1141, 1151 (2019). To

24   establish the claim, a plaintiff must show “ownership or right to possession of property,

25   wrongful disposition of the property right and damages.” Kremen v. Cohen, 337 F.3d 1024,

26   1029 (9th Cir. 2003); accord Voris, 7 Cal. 5th at 1150 (“[T]he ‘specific thing’ at issue must be

27   a thing to which the plaintiff has a right of ownership or possession—a right with which the

28   defendant has interfered by virtue of its own disposition of the property.”). More specifically, a
                                              12          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 23 of 36




 1   plaintiff must be able to prove she or he was “entitled to immediate possession at the time of

 2   conversion.” Farmers Ins. Exch. v. Zerin, 53 Cal. App. 4th 445, 452 (1997) (citation omitted).

 3           Plaintiffs have not set forth any evidence showing a property interest in FedEx

 4   Ground’s benefit plans. Nor can they. The plain language of the plans exclude them from

 5   participating (see Facts § C, supra)—something FedEx Ground was legally entitled to do (see

 6   Argument, Part I.A.1, supra). Simply put, this claim is nothing more than Plaintiffs asserting

 7   they have a right to “converted” property that was not theirs in the first place. Cf. Thole v. U. S.

 8   Bank N.A, 140 S. Ct. 1615, 1620 (2020) (holding that even participants in a defined-benefit

 9   plan “possess no equitable or property interest in the plan”).

10           But even if Plaintiffs were somehow entitled to participate, that still would not

11   constitute a property right sufficient to give rise to a conversion claim. California law requires

12   proof of interference “with the plaintiff’s possessory interest in a specific, identifiable sum”—

13   “the simple failure to pay money owed does not constitute conversion.” Voris, 7 Cal. 5th at

14   1151 (underline emphasis added) (quoting Kim v. Westmoore Partners, Inc., 201 Cal. App. 4th

15   267, 284 (2011)). “An obligation to pay an unspecified, nonidentifiable amount . . . is

16   insufficient to qualify for recovery under a conversion claim.” 6 Nguyen v. Stephens Inst., 529

17   F. Supp. 3d 1047, 1059 (N.D. Cal. 2021) (rejecting conversion claim seeking pro-rata share of

18   tuition and fees after in-person classes were canceled).

19           In Voris, the California Supreme Court held that an employee could not state a viable

20   conversion claim for unpaid wages as a matter of law. 7 Cal. 5th at 1156. The Court explained

21   that the plaintiff’s claim to earned wages is “not that the employer has wrongfully exercised

22   dominion over a specifically identifiable pot of money that already belongs to the employee—

23   in other words, the sort of wrong that conversion is designed to remedy.” Id. at 1152–53

24   (emphasis added). The Court refused to indulge the “fiction” that “once Voris provided the

25   promised services, certain identifiable monies in his employers’ accounts became Voris’s

26

27   6
       Similarly, a contingent right in property based on a contractual relationship fails to give rise to
     a conversion claim. See La Jolla Cove Investors, Inc. v. Sultan Corp. Ltd., No. 11cv1628
28   JM(RBB), 2011 WL 4916138, at *3 (S.D. Cal. Oct. 17, 2011).
                                                13          Case No. 4:18-cv-07553-PJH (DMR)
         FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                      JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 24 of 36




 1   personal property, and by failing to turn them over at the agreed-upon time, his employers

 2   converted Voris’s property to their own use.” Id. at 1153.

 3          Plaintiffs’ conversion claim depends on an even greater fiction: that Plaintiffs could

 4   have a right to “converted” property they admittedly never had in the first place. Plaintiffs

 5   never participated in FedEx Ground’s employee benefit plans because FedEx Ground did not

 6   consider them to be its employees. (FAC ¶¶ 111-12.) In fact, Plaintiffs could not have

 7   obtained benefits under most of these benefits plans without FedEx Ground paying for them,

 8   which it did not do, or electing to participate in them (and, with respect to the 401(k) and life

 9   insurance plans, paying into them themselves). Notably, Plaintiff Overpeck was offered, and

10   declined, health benefits from his one California Service Provider employer, Bondz, Inc.

11   (Overpeck Dep 205:9-206:7, Dep. Exs. 1 (at OVERPECK_000301-03), Dep. Ex. 15 (at

12   OVERPECK_0000072); Mikan Dep. 42:2-8, 65:20-67:19 & Dep. Ex. 21.) Plaintiff

13   Sobaszkiewicz’s employer Service Provider, Turner Holdings, also offered contribution to

14   health insurance. (Turner Dep. 61:18-62:8.)

15          In short, Plaintiffs ask this Court to recognize that they can create a property right to

16   employee benefits that never existed and they never possessed, solely because FedEx Ground

17   allegedly “converted” that right. This fiction is contrary to California law and must be rejected.

18          C.      The California Labor Code Preempts Plaintiffs’ Wage Claims for Fraud

19                  and Conversion

20          Through their common-law tort and conversion claims, Plaintiffs seek “damages in that

21   they were deprived of wages and other benefits of employment.” (FAC ¶¶ 109, 114.) But as

22   the Court already found, “the Labor Code’s remedies are intended to be exclusive, and thus

23   preclude common law claims based on the same conduct.” (Order Denying Class Cert. 10,

24   ECF 362 (following Santiago v. Amdocs, Inc., No. C 10-4317 SI, 2011 WL 1303395, at *3

25   (N.D. Cal. Apr. 2, 2011); Madrigal v. Tommy Bahama Grp., Inc., No. CV 09-08924 SJO

26   MANX, 2010 WL 4384235, at *6 (C.D. Cal. Oct. 18, 2010); In re Wal-Mart Stores, Inc. Wage

27   & Hour Litig., 505 F. Supp. 2d 609, 618 (N.D. Cal.2007); Green v. Party City Corp., No. CV-

28   01-09681 CAS (EX), 2002 WL 553219, at *5 (C.D. Cal. Apr. 9, 2002).) In addition to making
                                              14          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 25 of 36




 1   the above findings and legal conclusions, the Court should renew its findings on this basis.

 2    II.     CALIFORNIA’S MOTOR CARRIER EXEMPTION BARS PLAINTIFFS’

 3            OVERTIME CLAIM

 4            Plaintiffs’ claim for unpaid overtime is barred by California’s motor carrier exemption.

 5   Under section 3(L) of Wage Order 9, California’s overtime pay requirements are “not

 6   applicable to employees whose hours of service are regulated by . . . [t]he United States

 7   Department of Transportation Code of Federal Regulations, Title 49, Sections 395.1 to 395.13,

 8   Hours of Service of Drivers.” 8 C.C.R. § 11090(3)(L); cf. Brinker Rest. Corp. v. Superior Ct.,

 9   53 Cal. 4th 1004, 1027 (2012) (wage orders “are entitled to extraordinary deference”). Because

10   Plaintiffs were subject to the federal “hours of service” regulations at all relevant times, they

11   were not eligible for—and cannot recover—overtime pay under California’s overtime laws.

12   See Collins v. Overnite Transp. Co., 105 Cal. App. 4th 171, 180 (2003) (explaining that truck

13   drivers whose hours of service are federally regulated are exempt from California’s overtime

14   laws).

15            The federal hours-of-service regulations apply to “all motor carriers and drivers.” 49

16   C.F.R. § 395.1(a)(1). A “driver” is “any person who operates any commercial motor vehicle,”

17   which, in turn, is defined as a motor vehicle with a Gross Vehicle Weight Rating of 10,001

18   pounds or more that is used to transport goods in interstate commerce. 49 C.F.R. § 390.5. In

19   other words, the Secretary of Transportation regulates the hours of service of (1) drivers who

20   (2) transport goods in interstate commerce (3) using a vehicle with a GVWR of 10,001 pounds

21   or more (i.e., a heavy vehicle). See Sweet v. United Parcel Serv., Inc., No. 09-02653, 2010 WL

22   11507624, at *4 (C.D. Cal., Oct. 13, 2010). Plaintiffs meet each of these requirements.

23            First, there is no dispute that Plaintiffs were employed as delivery drivers by their

24   respective Service Providers. (E.g., Order, ECF 105 at 7 (“Plaintiffs do not dispute that the

25   ISPs employ them . . . .”).)

26            Second, Plaintiffs transported goods in interstate commerce. A driver does so if his

27   delivery forms a part of a “practical continuity of movement” across state lines, such that “the

28   essential character of the commerce” (i.e., the shipment) is interstate in nature. Klitzke v.
                                              15          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 26 of 36




 1   Steiner Corp., 110 F.3d 1465, 1469-70 (9th Cir. 1997); accord Deherrera v. Decker Truck

 2   Line, Inc. 820 F.3d 1147, 1155 (10th Cir. 2016). It does not matter if the driver drives solely

 3   within a single state so long as “what is being transported”—here, the packages or trailers

 4   Plaintiffs picked up and delivered—is itself “moving in interstate commerce.” 29 C.F.R.

 5   § 782.7(b)(1); accord 49 C.F.R. § 390.5 (defining “interstate commerce” to include trade or

 6   transportation “[b]etween two places in a State as part of trade, traffic, or transportation

 7   originating or terminating outside the State or the United States”); Klitzke, 820 F.3d at 1469-70

 8   (holding that goods transported on an intrastate route are still in interstate commerce);

 9   Deherrera, 820 F.3d at 1155 (same); Nelson v. FedEx Ground Package Sys., Inc., No. 1:18-cv-

10   01378, 2019 WL 1437765, at *3 (D. Colo., Feb. 8, 2019) (delivery driver was engaged in

11   interstate commerce “because a substantial portion of Defendant’s packages move in interstate

12   commerce”); Sweet, 2010 WL 11507624, at *6 (finding that UPS driver operated in interstate

13   commerce when there was “no material issue of fact as to whether the packages in UPS’s

14   trucks are part of an interstate movement of goods”).

15          As linehaul drivers, Plaintiffs Sobaszkiewicz and Overpeck regularly transported FedEx

16   Ground trailers across state lines or transported trailers within California that bore packages

17   originating out of state or were destined for delivery out of state. (Overpeck’s Resp. to

18   Interrog. No. 19; Overpeck Dep. 50:11-51:21, 103:11-22; Sobaszkiewicz Decl. ¶¶ 4, 7, 26;

19   Means Decl. ¶ 4.) Similarly, even though Plaintiff Sterling drove only in California, he picked

20   up and delivered packages that originated in or had final destinations in other states. (See

21   Means Decl. ¶ 4.)

22          Finally, Plaintiffs drove heavy vehicles either exclusively or for the overwhelming

23   majority of their relevant employment with the Service Providers. Specifically, there is no

24   dispute that Plaintiffs Overpeck and Sobaszkiewicz always drove “big rig” trucks with a

25   GVWR of 10,001 pounds or more. (Overpeck’s Resp. to Interrog. No. 3; Overpeck Dep.

26   228:6-230:16; Sobaszkiewicz Resp. to Interrog. No. 15; Turner Dep. 142:11-21; Means Decl.

27   ¶ 15.) FedEx Ground’s DOT scanner and vehicle records show that Plaintiff Sterling drove

28   commercial motor vehicles at least 86 percent of the time he delivered. (Means Decl. ¶ 27 &
                                              16          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 27 of 36




 1   Ex. D.) Thus, Plaintiffs’ use of commercial motor vehicles is well over the “de minimis”

 2   threshold needed to invoke the federal hours-of-service regulations. See Sweet, 2010 WL

 3   11507624, at *4-6 (recognizing that drivers are regulated by the DOT’s hours of service

 4   regulations when they “dr[i]ve a commercial vehicle . . . as a non-de minimus [sic] part of

 5   [their] work duties”); cf. Morris v. McComb, 332 U.S. 422, 423-24 (1947) (considering four

 6   percent of time spent in interstate commerce sufficient to invoke the authority of the

 7   Department of Transportation).

 8          In sum, the uncontroverted evidence shows that Plaintiffs exclusively or predominantly

 9   drove commercial motor vehicles to transport goods in interstate commerce. They were thus

10   “employees whose hours of service [were] regulated by” the DOT’s hours-of-service

11   regulations. 8 C.C.R. § 11090(3)(L). As a result, they were exempt from California’s overtime

12   requirements under the plain language of the Motor Carrier Exemption.

13   III.   PLAINTIFFS’ MEAL-AND-REST-BREAK CLAIMS ARE PREEMPTED

14          FedEx Ground is also entitled to summary judgment on Plaintiffs’ claims for alleged

15   violations of California’s meal-and-rest-break requirements. Because the DOT regulated

16   Plaintiffs’ hours of service, their meal-and-rest-break claims are preempted by the Federal

17   Motor Carrier Safety Act (the “Act”).

18          Preemption applies when a state law conflicts with federal law. When that happens, the

19   U.S. Constitution’s Supremacy Clause renders the state law “without effect.” Cipollone v.

20   Liggett Grp., Inc., 505 U.S. 504, 516 (1992). Regulations issued by “a federal agency acting

21   within the scope of its congressionally delegated authority” can also preempt state law. City of

22   New York v. F.C.C., 486 U.S. 57, 63-64 (1988). In considering whether a federal agency has

23   preempted state regulation, courts ask whether the federal agency meant to preempt the state

24   law and, if so, whether that action was within the scope of the federal agency’s delegated

25   authority. Barrientos v. 1801-1825 Morton LLC, 583 F.3d 1197, 1208 (9th Cir. 2009).

26          Here, Congress delegated the authority to decide preemption to the Secretary of

27   Transportation, directing the Secretary to “review State laws and regulations on commercial

28   motor vehicle safety” and to decide whether those laws could be enforced. 49 U.S.C.
                                              17          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 28 of 36




 1   § 31141(c). Under that delegation, if the Secretary finds a state law preempted, the state “may

 2   not enforce” it. Id. § 31141(a). In 2018, after a notice and comment period, the FMCSA

 3   (which operates under the Secretary’s authority, 49 U.S.C. § 113; 49 C.F.R. § 1.87(f)) issued an

 4   order stating that California meal-and-rest-break rules were preempted by the federal hours-of-

 5   service regulations. (Request for Judicial Notice (“RJN”), Ex. 1, FMCSA, California’s Meal

 6   and Rest Break Rules for Commercial Motor Vehicle Drivers; Petition for Determination of

 7   Preemption, 83 Fed. Reg. 67470-01 (2018).) The FMCSA found, among other things, that

 8   California’s rules were “more stringent than” the federal hours-of-service regulations and

 9   unreasonably burdened interstate commerce. (Id.) As a result, the FMCSA found that

10   “California may no longer enforce” its meal-and-rest-break rules “with respect to drivers of

11   property-carrying [commercial motor vehicles] subject to” the federal regulations. (Id.)

12           The FMCSA order prevents this Court from enforcing California’s meal-and-rest-break

13   rules here. 49 U.S.C. § 31141(a). The Ninth Circuit upheld the FMCSA decision last year,

14   dismissing a challenge to it by California’s Labor Commissioner and other labor organizations

15   that petitioned for review. See Int’l Bhd. of Teamsters, Loc. 2785 v. Fed. Motor Carrier Safety

16   Admin., 986 F.3d 841, 845 (9th Cir. 2021) (holding that the FMCSA did not act arbitrarily or

17   capriciously in reaching its preemption decision). Recently, the California Court of Appeal

18   held that a trial court erred in denying summary adjudication on a short-haul driver’s meal-and-

19   rest-break claims, because those claims were expressly preempted by the FMCSA decision.

20   See Espinoza v. Hepta Run, Inc., 74 Cal. App. 5th 44, 56-57 (2022) (rejecting argument that the

21   federal rules do not apply to short-haul drivers).

22           As a result, federal district courts routinely dismiss meal-and-rest-break claims as

23   preempted, including claims seeking “retroactive” enforcement.7 For instance, in Sales, Judge

24

25   7
      See, e.g., Salter v. Quality Carriers, Inc., No. CV 20-479-JFW(JPRX), 2021 WL 5049054, at
     *9 (C.D. Cal. Oct. 27, 2021); Patton v. Midwest Constr. Servs., Inc., No. CV 19-8580-
26   JFW(MAAX), 2021 WL 2982277, at *3 (C.D. Cal. June 11, 2021); Robinson v. Chefs’
     Warehouse, Inc., No. 15-CV-05421-RS, 2019 WL 4278926, at *4 (N.D. Cal. Sept. 10, 2019);
27   Henry v. Cent. Freight Lines, Inc., No. 2:16-cv-00280-JAM-EFB, 2019 WL 2465330, at *4
     (E.D. Cal. June 13, 2019); Ayala v. U.S. Xpress Enters., Inc., No. EDCV 16-137-GW(KKX),
28   2019 WL 1986760, at *2-3 (C.D. Cal. May 2, 2019).
                                                18          Case No. 4:18-cv-07553-PJH (DMR)
         FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                      JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 29 of 36




 1   Tigar held that “[b]ecause the FMCSA has issued ‘an order which specifically bars

 2   enforcement of the relevant provisions of the California Labor Code as applied to property-

 3   carrying commercial vehicle drivers,’ the Court is precluded from ruling on Plaintiffs’ meal and

 4   rest break claims.” Sales v. United Road Svcs., No. 19-cv-08404-JST, 2020 WL 4035072, at *3

 5   (N.D. Cal. July 17, 2020). The court then rejected the plaintiff’s argument that their claims

 6   survive because their meal and rest period claims predate the FMCSA’s order, holding that

 7   “[r]etroactivity is not at issue here.” 8 Id.

 8           This Court should follow suit. Because Plaintiffs are subject to the federal hours-of-

 9   service regulations, as shown above, their meal-and-rest-break claims (including derivative

10   claims) are preempted by federal law and cannot proceed as a matter of law.

11   IV.     PLAINTIFFS’ WAGE STATEMENT CLAIM FAILS

12           A.      The Undisputed Evidence Shows that Plaintiffs Cannot Prove Their Claim

13                   for a Violation of Section 226

14           Plaintiffs’ wage statement claim requires them to prove (1) a violation of Labor Code

15   section 226(a); (2) that is “knowing and intentional”; and (3) a resulting injury. Arroyo v. Int’l

16   Paper Co., No. 17-CV-06211-BLF, 2020 WL 887771, at *7 (N.D. Cal. Feb. 24, 2020). On the

17   undisputed facts, Plaintiffs cannot prove any of these elements.

18           No Evidence of a Violation. Plaintiffs do not dispute that their Service Providers gave

19   them wage statements. They claim, instead, that FedEx Ground violated section 226(a)

20   because it is not listed on those statements. (Mot. for Class Cert. iii & 16, 25, ECF 281.) But

21   such conduct does not violate section 226(a). Rather, liability extends to “an employer” who

22   “furnishes” the wage statements. Cal. Lab. Code § 226(a), (e) (emphasis added). FedEx

23   Ground is not an employer that ever furnished wage statements, as Plaintiffs themselves admit.

24           In addition, even if FedEx Ground were Plaintiffs’ joint employer (it is not), nothing in

25

26   8
       The FMCSA has clarified that its decision “precludes courts from granting relief pursuant to
     the preempted State law or regulation at any time following issuance of the decision, regardless
27   of whether the conduct underlying the lawsuit occurred before or after the decision was issued,
     and regardless of whether the lawsuit was filed before or after the decision was issued.” (RJN,
28   Ex. 2 (FMCSA, Clarification Regarding Preemption Decision).)
                                                19          Case No. 4:18-cv-07553-PJH (DMR)
         FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                      JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 30 of 36




 1   section 226 requires all employers be included on wage statements. Nor can such a

 2   requirement be implied. In requiring wage statements to include “the name and address of the

 3   legal entity that is the employer,” the legislature added one additional requirement “if the

 4   employer is a farm labor contractor”: the statement must also include “the name and address of

 5   the legal entity . . . that secured the services of the employer.” Cal. Lab. Code § 226(a)(8). If

 6   the legislature intended all joint employers or related contractor entities be included on wage

 7   statements, it would have said so, as it did in the farm labor context. See, e.g., Noe v. Superior

 8   Ct., 237 Cal. App. 4th 316, 333 (2015) (noting that in the absence of language in the statute,

 9   courts “cannot presume” joint and several liability). Holding otherwise would violate the

10   “well-established maxim of statutory interpretation, expressio unius est exclusio alterius—the

11   expression of one thing is the exclusion of another.” Sharp v. Waterfront Rests., No. 99-CV-

12   200 TW (AJB), 1999 WL 1095486, at *6 (S.D. Cal. Aug. 2, 1999).

13           In addition, FedEx Ground is unaware of any case—and Plaintiffs have cited none—

14   holding that both direct and joint employers be included on wage statements or that both issue

15   separate wage statements. To the contrary, in Mejia v. Farmland Mutual Insurance, the court

16   dismissed wage statement claims against both the direct and putative joint employer even

17   though the wage statement listed only one them. No. 2:17–cv–00570–TLN–KJN, 2018 WL

18   3198006, at *7 (E.D. Cal. June 26, 2018). The Court should do the same here.

19           No Evidence of Injury. Plaintiffs’ claim also fails because they cannot show that the

20   omission of FedEx Ground’s name caused any harm. Section 226’s injury requirement hinges

21   on whether the employee can “promptly and easily determine [accurate information about their

22   wages] from the wage statement alone.” Magadia v. Wal-Mart Assocs., Inc., 999 F.3d 668, 679

23   (9th Cir. 2021); see also Cal. Lab. Code § 226(e)(2)(B); Ward v. United Airlines, Inc., 9

24   Cal. 5th 732, 752 (2020). The injury requirement “cannot be satisfied simply because one of

25   the nine itemized requirements in section [226(a)] is missing from a wage statement.” 9

26   Ridgeway v. Wal-Mart Stores, Inc., No. C 08-05221 SI, 2014 WL 2600326, at *8 (N.D. Cal.

27
     9
      As the Court noted, “Plaintiffs cite no cases where a court has found their theory of liability
28   under section 226(a)(8) to be viable.” (Order Denying Mot. for Class Cert. 12.)
                                                20          Case No. 4:18-cv-07553-PJH (DMR)
         FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                      JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 31 of 36




 1   June 10, 2014) (quoting Price v. Starbucks Corp., 192 Cal. App. 4th 1136, 1142-43 (2011)).

 2   “By employing the term ‘suffering injury,’ the statute requires that an employee may not

 3   recover for violations of section [226(a)] unless he or she demonstrates an injury arising from

 4   the missing information.” Id.; see also Magadia, 999 F.3d at 680 (“To recover damages under

 5   the law, Magadia must prove that he ‘suffer[ed] injury as a result of a knowing and intentional

 6   failure by an employer to comply with the statute.’” (quoting Price, 122 Cal. Rptr. 3d at 178)).

 7          In Mejia, only one of two joint employers issued the wage statement, and the plaintiffs

 8   claimed they were harmed because those statements had an incomplete name and incorrect

 9   address for one employer. 2018 WL 3198006, at *6. In dismissing the claim as to both

10   employers, the court found the plaintiffs were unable to explain why the employer information

11   provided was “not useful for filing grievances, or for unemployment insurance or income tax

12   purposes”—the legislature’s purpose in adding the name and address requirements. Id. at *6-7.

13   The plaintiffs could not show an actual injury—even with an alleged incorrect wage-statement

14   (and one not including information about the alleged joint employer at all)—because there was

15   no evidence the incorrect and missing information caused them an injury. Id.

16          Similarly here, Plaintiffs have not provided any evidence showing they were prevented

17   from making any grievances, or confused in terms of unemployment insurance or tax issues,

18   because FedEx Ground was not listed on their wage statements. To the contrary, Plaintiffs all

19   claim that FedEx Ground controlled their work such that they believed FedEx Ground was also

20   their employer—the main premise for this case. (FAC ¶ 8; Sobaszkiewicz Decl. ¶ 16; Sterling

21   Decl. ¶ 39; Overpeck’s Resp. to Req. for Admission Nos. 1-3.) The undisputed evidence,

22   therefore, shows that Plaintiffs cannot prove their wage statement claim.

23          No Evidence of a Knowing and Intentional Violation. Finally, Plaintiffs’ claim fails

24   because they cannot point to any evidence showing FedEx Ground knowingly and intentionally

25   violated section 226(a). See Noe, 237 Cal. App. 4th at 332 (“[W]e fail to see how an employer

26   could ‘engage in’ the act of voluntarily and knowingly [violating the Labor Code] without any

27   knowledge [of the violation].”); cf. Vizcaino v. Microsoft Corp., 120 F.3d 1006, 1011 (9th Cir.

28   1997) (assuming Microsoft “honestly thought that the Workers were independent contractors
                                              21          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 32 of 36




 1   and took its various actions and inactions based upon that misapprehension” where there was

 2   no direct evidence to the contrary). In addition, as discussed in Section IV.I below, FedEx

 3   Ground’s good-faith belief that it is not Plaintiffs’ employer precludes liability under section

 4   226.

 5          B.      Plaintiff Overpeck’s Wage Statement Claim Also Fails for Most of His

 6                  Time Driving Because He Was Based in New Jersey

 7          Mr. Overpeck’s wage statement claim also fails because, for all but eight weeks, he was

 8   not based in California, nor did he spend the majority of his time there. Section 226 applies to

 9   “wage statements provided by an employer if the employee’s principal place of work is in

10   California.” Ward, 9 Cal. 5th at 760. This requires the employee to have either worked a

11   majority of the time in California or, for interstate transportation workers whose work is not

12   primarily performed in any single state, for California to be the base of work operations. Id. at

13   760-61. During the relevant time period, Mr. Overpeck worked only eight weeks for a Service

14   Provider (Bondz) based in California. (Overpeck Dep. 190:8-191:12, 192:8-24 & Ex. 15 at

15   OVERPECK_000060-71.) The remainder of his time he worked for Service Provider G2,

16   which was based in New Jersey and had no particular focus in California. (Id. at 18:22-19:18,

17   20:2-16, 26:16-27:13, 50:11-51:21.) His claim, therefore, fails outside those eight weeks.

18    V.    PLAINTIFFS CANNOT PROVE THAT FEDEX GROUND HAD TO KEEP

19          PAYROLL RECORDS YET WILLFULLY FAILED TO DO SO

20          Plaintiffs’ payroll records claim fails because, even if Plaintiffs could prove that FedEx

21   Ground was their joint employer, they have provided no authority that would require FedEx

22   Ground, as a second employer, to be responsible for maintaining their payroll records.

23   Moreover, only an employer that “willfully fails to maintain the records required by [section]

24   1174 . . . shall be subject to a civil penaly.” Cal. Lab. Code § 1174.5. Plaintiffs cannot point to

25   any evidence showing that FedEx Ground willfully failed to maintain payroll records.

26          And even a willful violation of the Labor Code by a direct employer is, standing alone,

27   not enough to impose penalties on the alleged joint employer. See Noe, 237 Cal. App. 4th at

28   333-34. This Court has already ruled as much when it granted FedEx Ground’s Rule 19 joinder
                                              22          Case No. 4:18-cv-07553-PJH (DMR)
       FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                    JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 33 of 36




 1   motion. (ECF 105 at 7-11 (“As Noe and Serrano demonstrate, plaintiffs will only be able to

 2   hold FedEx, FedEx Ground, and the ISPs jointly and severally liable under the Labor Code if

 3   the statutory sections and wage orders explicitly permit such liability. They do not.”).)10

 4            Accordingly, FedEx Ground cannot be said to have engaged in a violation of section

 5   1174, let alone a willful one.

 6   VI.      FEDEX GROUND HAS A GOOD-FAITH BELIEF THAT IT IS NOT

 7            PLAINTIFFS’ EMPLOYER, PRECLUDING PLAINTIFFS’ WAITING TIME,

 8            WAGE STATEMENTS, AND PAYROLL RECORD CLAIMS

 9            Plaintiffs’ claims for violation of Labor Code sections 203, 226, and 1174 all fail

10   because the evidence shows that FedEx Ground had a good-faith belief that it was not

11   Plaintiffs’ employer. “[A] good faith dispute that any wages are due will preclude imposition

12   of waiting time penalties under Section 203.” 8 Cal. Code. Reg. § 13520. While the regulation

13   language authorizes the defense for section 203 claims, courts have extended it to the Labor

14   Code’s payroll records (section 1174.5) and wage statement penalty (section 203) provisions.

15   The “majority view is that an employer’s good faith belief that it is not violating the California

16   Labor Code precludes a finding of a knowing and intentional violation,” as required to recover

17   under sections 226 and 1174.5. Arroyo, 2020 WL 887771, at *11 (applying defense to section

18   226 claim). This Court should do the same.

19            As a matter of law, the evidence shows FedEx Ground had, and continues to have, a

20   good-faith belief that it is not Plaintiffs’ employer. A “good faith dispute” occurs when “an

21   employer presents a defense, based in law or fact which, if successful, would preclude any

22   recovery on the part of the employee.” 8 Cal. Code. Reg. § 13520(a). “The fact that a defense

23   is ultimately unsuccessful will not preclude a finding that a good faith dispute did exist” so long

24   as the defense was not “unsupported by any evidence,” “unreasonable,” or “presented in bad

25   faith.” Id.; see Utne v. Home Depot U.S.A., Inc., No. 16-CV-01854-RS, 2019 WL 3037514, at

26
     10
        Although the Court later dismissed the joined Service Providers, the dismissal did not disrupt
27   this key component of its prior ruling. (Cf. ECF 278 at 3 (“FedEx is entitled to use this
     category of evidence in defending itself against plaintiffs’ claims, but it does not follow that
28   Bondz and the other ISPs must necessarily be joined to this suit.”).)
                                                 23          Case No. 4:18-cv-07553-PJH (DMR)
          FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                       JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 34 of 36




 1   *5 (N.D. Cal. July 11, 2019) (granting summary judgment on wage statement and waiting time

 2   claims where the employer had a good-faith defense). That threshold is easily met here.

 3            The undisputed evidence shows that each Service Provider agrees to treat all personnel

 4   as its employees and bear all responsibility for employer-related expenses and compliance with

 5   all applicable laws. (Means Decl. ¶ 7.) Service Providers provide annual reports confirming

 6   their compliance with wage and hour laws. (Id. ¶ 14 & Ex. C.) And, as shown in FedEx

 7   Ground’s opposition to Plaintiffs’ motion for class certification, FedEx Ground has sound,

 8   legally defensible reasons for believing it is not Plaintiffs’ employer. (ECF 304 at 12-16

 9   (relying on Salazar v. McDonald’s Corp., 944 F.3d 1024 (9th Cir. 2019); Martinez v. Combs,

10   49 Cal. 4th 35 (2010); Henderson v. Equilon Enters., LLC, 40 Cal. App. 5th 1111 (2019);

11   Curry v. Equilon Enters., LLC, 23 Cal. App. 5th 289 (2018)).) Indeed, no court has determined

12   that FedEx Ground is a joint employer with Service Providers. To the contrary, one state court

13   recently found that FedEx Ground “is not shown to be a joint employer.” See RFN Ex. 3,

14   Lightfoot v. Wahoo Logistics, Inc. No. FCS050578 (Cal. Super. Ct. Feb. 1, 2022), at 8.

15            Accordingly, FedEx Ground is entitled to summary judgment on Plaintiffs’ claims

16   based on sections 203, 226, 1174 and 1174.5. See, e.g., Woods v. Vector Mktg. Corp., No. C-

17   14-0264 EMC, 2015 WL 2453202, at *3-4 (N.D. Cal. May 22, 2015) (granting summary

18   judgment on waiting time and wage statement claims based on employer’s good-faith belief

19   that plaintiffs were contractors, not employees). 11

20 VII.       PLAINTIFFS’ REMAINING CLAIMS FAIL WHERE DERIVATIVE

21            Plaintiffs’ claims for failure to pay for all hours worked and to pay minimum wage

22   requires Plaintiffs to prove that they in fact performed work for which they were improperly

23   compensated. Hernandez v. Mendoza, 199 Cal. App. 3d 721, 727 (1988); In re Bimbo Bakeries

24   USA FLSA Actions, No. C 05-00829 JW, 2008 WL 10850153, at *4 (N.D. Cal. Oct. 24, 2008).

25   To the extent those claims are based on a supposed failure to provide benefits, overtime, or

26

27   11
       See also, e.g., Dalton v. Lee Publ’ns, Inc., No. 08CV1072 BTM NLS, 2011 WL 1045107, at
     *5 (S.D. Cal. Mar. 22, 2011); Reber v. AIMCO, No. SA CV07–0607 DOC (RZx), 2008 WL
28   4384147, at *9 (C.D. Cal. Aug. 25, 2008).
                                                 24          Case No. 4:18-cv-07553-PJH (DMR)
          FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                       JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 35 of 36




 1   meal-and-rest-break premiums, they fail for the reasons shown above. 12 The same is true to the

 2   extent Plaintiffs’ UCL claim, wage statement claim, waiting time claim, and PAGA claim are

 3   derivative of Plaintiffs’ claims for benefits, overtime, and meal-and-rest-break violations. 13

 4 VIII.      OVERPECK’S REPRESENTATIVE PAGA CLAIM MUST BE DISMISSED AND

 5            THE REMAINING PAGA CLAIM TIME LIMITED

 6            Per the Stipulation to Allow Amendment of the Complaint to Change Names on the

 7   Case Caption, Plaintiff Overpeck is no longer pursuing claims in a representative capacity and

 8   seeks relief “individually only” (ECF 368) and so his representative PAGA claim should be

 9   dismissed. And because PAGA has a one-year statute of limitations, see Civ. Proc. Code

10   § 340, Plaintiff Sterling’s and Sobaszkiewicz’s PAGA claims should be limited to alleged

11   violations that occurred on or after January 29, 2019, one year before they sent their PAGA

12   notice. (PAGA Notice Ltr., Jan. 29, 2020.)

13            Even without dismissal of Mr. Overpeck’s representative claim, the time period for

14   pickup and delivery drivers must still be limited to alleged violations that occurred on or after

15   January 29, 2019. In Mr. Overpeck’s notice, he proposed representation of only “current and

16   former TEAM TRACTOR TRAILER drivers” (i.e., linehaul drivers). (Overpeck PAGA

17   Notice Ltr., Aug. 24, 2018.) The LWDA thus had no notice as to a claim on behalf of pickup

18   and delivery drivers until Sterling and Sobaszkiewicz sent their letter.

19            FedEx Ground respectfully requests the Court’s ruling on these issues now, as an issue

20   of law, because it will inform and narrow the scope of this litigation moving forward.

21                                            CONCLUSION

22            FedEx Ground respectfully requests entry of judgment for the reasons discussed above.

23
     12
24      Plaintiffs also base these claims on an alleged failure to be paid for time spent preparing their
     vehicles and sleeper birth time. (FAC ¶¶ 120-121, 150-51.) While FedEx Ground believes the
25   evidence will prove those claims fail too, it recognizes there are likely factual disputes.
     13
        See Aleksick v. 7-Eleven, Inc., 205 Cal. App. 4th 1176, 1185 (2012) (“When a statutory claim
26   fails, a derivative UCL claim also fails.”); Porch v. Masterfoods, USA, Inc., 685 F. Supp. 2d
     1058, 1075 (C.D. Cal. 2008), aff’d, 364 F. App’x 365 (9th Cir. 2010) (same as to section 1174
27   claim); Culp v. Konica Minolta Bus. Sols. U.S.A., Inc., No. CV174274JFWJEMX, 2018 WL
     5928185 at *8 (C.D. Cal. Feb. 28, 2018) (section 203); Tomco v. Prada USA Corp., 484
28   F. App’x 99, 100 (9th Cir. 2012) (PAGA).
                                                 25          Case No. 4:18-cv-07553-PJH (DMR)
          FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                       JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
     Case 4:18-cv-07553-PJH Document 372 Filed 04/18/22 Page 36 of 36




 1   DATED: April 18, 2022                  WHEELER TRIGG O’DONNELL LLP

 2
                                            By:     /s/ Jessica G. Scott
 3
                                                  JESSICA G. SCOTT
 4                                                Attorney for Defendant
                                                  FEDEX GROUND PACKAGE SYSTEM,
 5                                                INC.

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                                             26          Case No. 4:18-cv-07553-PJH (DMR)
      FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                   JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES
